             Case 2:20-cv-00994-CDS-VCF Document 13 Filed 11/23/20 Page 1 of 1

AOS                          UNITED STATES DISTRICT COURT.
                                CLARK COUNTY. NEVADA


 MINADEORO,LLC,A NEVADA UMITED LIABILITY
 COMPANY;THE TOY CHEST,LLC A NEVADA                  Plaintiff
 LIMITED yABILITY COMPANY
                                                                        CASE NO: 2:2(M:V-D®994
 VS
MATTHEW BRENT GOETTSCHE,AN                                              HEARING DATE/TIME:
INDIVIDUAL,JOBEDIAH SINCLAIR WEBCS,AN                                   DEPT NO:
INDMDUAL,JCSBPH mANK ABEL,AN INDMOUAL,
                                                     Defendant
SILVIU CATAUN BALACI,AN INDIVIDUAL,BITCLUB,AN
UNiCNOWN ENTITY,AND DOE AND ROE COIVORATIONS


                                       AFFIDAVIT OF SERVICE
         ANTHONY FULLER being duly sworn says: That at all times herein affiant was and Is a dfeen ofthe United
States, over 18 years of age, not a party to or Interested In the proceedings In whldr this affidavit is made. That
affiant rei^ived 1 copy(les) of the SUMMONS,COMPLAINT,on the 7th day of October, 2020 and served the same
on the 13th day of Octotier, 2020, at 11:50 by;


delivering and leaving a copy with ttie servet JOSEPH FRANCIS ABEL at(address) 1775 CALLE TIERRA VISTA.
CAMARILLOCA 93010




Pursuantto NRS 53.045

I declare under penalty of perjury under thej^ of
                                               c the State of Nevada that the foregoing is true and oirrecL
EXECUTED this              dav                    2Dte>.




                                                                                         ONY FULLER

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          BtSSIOIA                           Ci^^i^2000eWi}f'AMRtgtsbResanmti                Process Uoan» #1068
